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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 1:22-cv-20984-KMM


  SHANNON THOMAS,
  individually and on behalf of all others similarly
  situated,

         Plaintiff,

  v.

  LAKEVIEW LOAN SERVICING, LLC,

        Defendant.
  _______________________________________/

                                      ORDER OF TRANSFER

         GOOD CAUSE appearing that a transfer of this cause is appropriate pursuant to Internal

  Operating Procedure 2.15.00, due to the related nature of Morrill v. Lakeview Loan Servicing,

  LLC, Case No. 1:22-cv-20955-DPG, and subject to the consent of the Honorable Darrin P. Gayles,

  it is hereby ORDERED AND ADJUDGED that the above-captioned cause is transferred to the

  calendar of Judge Darrin P. Gayles for all further proceedings.

         DONE AND ORDERED in Chambers at Miami, Florida, this28th
                                                             ____ day of April, 2022.



                                                       __________________ ______________
                                                       K. MICHAEL MOORE
                                                       UNITED STATES DISTRICT JUDGE
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          After reviewing the Court file in the above-captioned cause, the undersigned accepts the

  transfer of this case. Therefore, it is

          ORDERED AND ADJUDGED that all pleadings filed after this date shall bear the

  following case number, 1:22-cv-20984-DPG, indicating the Judge to whom all pleadings should

  be routed.

                                                                28th day of April, 2022.
          DONE AND ORDERED in Chambers at Miami, Florida, this ____



                                                      ___________________________
                                                      DARRIN P. GAYLES
                                                      UNITED STATES DISTRICT JUDGE


  c:      Clerk of Court
          All counsel of record




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